 

 

Case 2:06-cv-O4857-F|\/|C-¥ Document 94 Filed 08/22/07 P‘ge 1 of 49 Page |D #:114 2

,_ , oHlGINAL

Le_s J_ Weinst€in (State Bar No. 367275)
Wllhz_lm J_. Brutocao (State Bar No. 7 959)
A. Erlc %]§r§/Lll/r`nlé$tate Bar No. 198392
SHELD ROSE &_ ANDERSO PC
100 East CorS_On St_reet, Thlrd Floor
Pasadena, Cahforma 91103-3842
Telephc_)ne: é626 796-4000
Facslmlle:_ 626 795-_6321
E-Mall: ebjorgum@uslp.com

F;LED ~
_\. cLEHK, us unemch comm §§
' cf

AUG 2 2200?

       

_-\ '_,-' ,-

   

§\§NTHAL 0stch oF cAL:FOHNm.
DEPUTY §

Attorneys for Plai

  
   
   
  

D
IT »- TATES DISTRICT COURT FOR sr m£ 001/121

-. b DISTRlCT OF CALIFORNIA

STERN DIVISION

,_.
»-/&\\ooo-_Jo\u\.h.wz\_)._.

,_¢

ease NO. Cv 06-4357 FMC (sz)

STIPULATION REGARDING
SECOND AMENDED COMPLAINT

1 WEST COA T GENERAL L.R. 15-3 “<1/ M,MA/.

5 CORPORATIC)N- SOUTHERN [ l

16 CALIFORNIA CONTRACTORS,
lNc.- YOUNG WQMENj S

17 CHRISTIAN ASSOCIATION OF
GREATER LOS ANGELES

18 CALIFORNIA- PB DEWBERRY, A

PARSONS BRTNKERHOFF

DEWBERRY DESIGN GROUP

19 JOINT VENTURE' JOHN

FRALEY; ROBERT BLEW~

20 UNITED sTATES OF AMERICA-

UNITED STATES DEPARTMENT

21 OF LABOR; CASTLEROCK
ENVIRONMENTAL INC.-

22 SUPERIOR WALL S’YSTE’MS

INC.; SAUNDERS & MCMILL’IN,

23 INC.; RICHARD P. WALLACE;
DELON HAMPTON &

24 ASSOCIATES, CHARTERED; and
DOES 1-10,€¢ az,

Defendants.

 

   
   
 

 

_DocKEI£D ma cea _, '
` Au@ 23 2001

 

 

 

 

 

new

 

:_\,,o,.s

\DOO--.]O\LJ‘I-I>~L.»Jl\)*'-*

NN[\)Nl\-)NN[\.)[\)H*v-‘r_*»_-»_¢»_~»_¢»_¢>_¢¢_n
OO"]O\U!~§WN*_*©\D®`-]O\U!-PWN"_‘C

 

Case 2:06-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 Pige 2 of 49 Page |D #:115 L_

The parties to the above-entitled action hereby stipulate as follows: ij
ll
WI~IEREAS, certain parties were not correctly identified in the original
' . . , r;[:
Complalnt or First Amended Complaint; ag

'.)

WHEREAS, certain Doe defendants have now been identified;

WHEREAS, Plaintiff has recently learned that Richard P. Wallace
(“Wallace”), an individual who, on information and belief, is liable for the
desecration of the Ruscha Monument, is an employee of Delon Hampton &
Associates, Chartered (“DHA”);

WHEREAS, addition of the DHA and Wallace as Defendants necessitates an
extension of the deadlines previously set by the Court; and

WHEREAS, certain facts have come to light necessitating that a claim for
negligent Supervision be added against certain Defendants,

IT IS AGREED AND STIPULATED (i) that Plaintiff Kent Twitchell may
file and serve the attached Second Amended Complaint, which will be deemed
served when this stipulation is signed by the Court, pursuant to L.R, 15-3 (ii) that a
Defendant’s Answer to the First Amended Complaint in this action may be deemed
its response to the Second Amended Complaint; (iii) that any new material
allegation may be deemed denied; (iv) that any Defendant other than the United
States shall have twenty (20) days to respond, should a Defendant choose to do so;
(v) that the United States’ time to respond, if any, shall be determined when the
Court rules on its pending motion to dismiss; and (vi) that the dates in this matter

should be continued for Sixty (60) days as set forth below:

Existing Date Proposed Date
Discovery Cutoff October 29, 2007 ~ December 28, 2007
Last Day to Add Parties October 29, 2007 December 28, 2007
Expert Designation Per FRCP Per FRCP

Last Day to Hear Motions Dec. 10, 2007 March 5, 2008

 

 

‘."\,

CaS€ 2206-CV-O4857-F|\/|C

2-1'5

\DOO--.lO\Lh-l¥l-)J[x)>_a

' [\) [\.) [\.} [\.) [\..) [\_) [\_) {\_) [\J »_-\ l-~ »_- )_¢ »-- »-\ »_~ >_~ )--¢ r_\
00 ---..l O\ {_.h h L»J l\.) >-* CJ \D OO ‘--.] O\ L.J"l 45 '~)J [\.) *_‘ C

 

Last Day to Complete
Settlernent Procedure

Pre Trial Conference

Trial

IT IS SO STIPULATED.

Dated: A-`_,\,.A-l wl m 7

Dated:

Dated:

-Z Document 94 Filed 08/22/07 P‘n`:je?>of 49 Page|D #:116 en

Nov@mber29, 2007 lanuary 28 2008;'3 '

it
ranuary 14, 2008 March 17, 2008 j ;

February 5, 2008 April 7, 2008

SHELDON MAK ROSE A ERSON PC
By: W Z §§

Vd`c Bjorgum HL_)

3014/1 814 BM TO €A'O
Attorneys for Plaintiff
Kent Twitchell

DLA PIPER US LLP
By:

 

.Henry H. Oh, Esq.

Attorne s for Defendants
The Y CA of Greater Los Angeles California
and John F raley

SCHWARTZ & JANZEN, LLP
By:

 

Steven H. Schwartz Esq.

Attorneys for Defendant
PB Dewberry a Parsons Brinkerhoff Dewberry
Design Group Joint Venture

 

 

a ,

Case 2:06-cV-O4857-F|\/|C-¥ Document 94 Filed 08/22/07 P‘ge 4 of 49 Page |D #:117 a

\~DOO*--]O\'Jl-PL+JN--'

NNNNM{\.)[\JNI\J¢_*»_¢~#»_¢»-ln__~_a»_-»_-
OQ‘~JO\L!\LUJ[\)'_'O\DO¢-JU\\J\LWN""‘O

 

Last Day to Complete
Settlement Procedure

Pre Trial Conference

Tria|

IT IS SO STIPULATED.

Dated:

Dated:

o°-' 9- 07

Dated:

November 29, 2007 January 28, 2008
January 14, 2008 March 17, 2008

February 5, 2008 April 7, 2008

SHELDON MAK ROSE & ANDERSON PC

By:

 

Eric Bjorgum

Attorneys for Plaintiff_
Kent Twitchell

Attorn \%s for D ants
The Y CA of reater Los Angeles, Calit`omia
and John Fraley

SCHWARTZ & JANZEN, LLP
By:

 

Steven H. Schwartz, Esq.

Attomeys for Defendant
PB Dewben'y a Parsons Brinkerhoff Dewberry
Design Group Joint Venture

     

r.».»_.

 

 

..Qase 2:Q62-cv-Q4&57;F|\i1@ai¥j.QHUé.taneiHaaaaFiie@eieFaZ//®WWBLU 49 Page iD #:1;18 .a

\DOO'-JO'\Lh-Pb-*[\)i-

NMNNNNN[\Jl\Jr-*I-‘i-~»_v-l»-ar-»-)-dr-
OO`JC\Lh'h-DJMHGNGOO`~]C\LHLU-\N*_‘o

 

f

 

 

Last Day to Complete
Settlement Procedure November 29, 2007 January 28, 2008 a
Pre Trial Coriference January 14, 2008 March 17, 2008
Trial February 5, 2008 April 7, 2008
IT IS SO STIPULATED.
Dated: SHELDON MAK ROSE & ANDERSON PC
By:
Eric Bjorgum
Attorneys for Plaintiff
Kent Twitchell
Dated: DLA PIPER US LLP
By:
Henry H. Oh, Esq.

Attom s for Defendants
CA of Greater Los Angeles, California
and John Fral ey

Dated: f//?/d-;, SCHWART JANZEN, LLP
B%%

Steven H. /Sel'Eii/artz, Esq.

\ Attorneys for Defendant

Dewberry a P_a.i:sons Brinkerhoff Dewberry
Design Group Joint Venture

 

2

This tax was received by GF| FAXmaker tax server For more informationl visit http llwww gfi com

i:£.i
;;L
i

 

 

5

Case\2:06-cv-O4857-F|\/|C-g Document 94 F.i|ed 08/22/07 Pige 6 of 49 Page |D #:119 a

 

 

 

 

l:v_i
01
1 Dated: S, GOL INCH, LLP §§
2 By: ,, ii_, _ ;:
3 as n R. Tbornton, Esq. ’
Attcrrieys for Defendants . _
4 West Coast General Co . Southern California
5 Contractors, Inc. and Ro ert Blew
6 \
7 LAW oFFicEs oF GLENN M. HoRAN
3 Dated: By:
9 Gleim M. Horan, Esq.
10 Attomeys for Defendant
Castlerock Environmental, Inc.
11
12
13 Dated: RA_MEY & DeBLANC, LLP
14
15 John Ramey, Esq.
Attorneys for Defendant Sai.inders & McMillin,
16 Inc.
17
18
Dated: WALSWORTH, FRANKLIN, BEVINS &
19 McCALL, LLP
20
By:
21 Wesley Tonel, Esq.
22 Attorneys for Defendant Superior Wall Systems,
Inc.
23
24
25
26
27
28

 

 

 

fn

Case 2:06-cv-O4857-F|\/|C"-z` Document 94 Filed 08/22/07 P ge 7 of 49 Page |D #:120 3

 

 

 

 

.~. Fro 48413804 Pa e 212 care 8117/20071 46 Aivi
AUI'|{'U¢ 'il!i.‘iflal'|i HDT|'|'LBW L|TT| 0\' JBTT|'B¥ d ball EB '1’1|404|3|.1|14 I'UW l‘ UUii‘.'/UL||: I"JW
1 Dated: . ivriitnr<s, GoLiA & FINCH, LLP 133
2 ft
3 lason R. Thornton, Esq. ;;l
Attorne s for Defendants _ _
4 West Ciiiast General Co . Southern Califonua
5 Contractors, Inc. and Ro err Blew
6
7 LAw o ross oP GLENN ivi. HoRAN
8 Dated: ar// 0/07 By, DZ %za.,./,
9 / Glem:i M. Horan, Esq.
10 Attorneys for Defendant
Cast]erock Environmental, Inc.
l l -
12
13 Dated: \ RAMEY & DeBLANC, LLP 1
B :
14 y John Ramey, Esq.
15 Atromeys for Defendant Sauiiders & McMillin,
16 Inc.
17
18 Daieci: ` wAstoRTH, FRANI<Ln~i, BEVINS &
19 McCALL, LLP
20
By:
21 Wesley Tonel, Esq.
9 2 Attorneys for Defendant Superior Wall Systei:ns,
lnc.
23
24
25
26
27
28

 

 

3

This tax was received by GP| FAXmaker tax sewer For more informationl visit http i‘/www gfi com

 

Case 2:06-cV-O4857-F|\/|C- Z Document 94 Filed 08/22/07 P 9980149 Page |D #:121 q
z Fr nknown Page 517 Date 8116/200711 A|V| '

3

 

 

 

1 .‘i
i v,i
1 Dated: MARKS, GOLIA & FINCH, LLP
3 Jason R. Thornton, Esq. ‘ "‘
4 Attorneys for Defendants
West Coast General Co . Southem California
5 Contractors, Inc. and R.o ert Blew
6
7 LAW oi=FicEs oF GLENN M. HoRAN
9 Glenn M. Horen, Esq.
10 Attorneys for Defendant
Castlerock Environmental, Inc.
11
12
13 Dated: RAMEY & DeBLANC, LLP
14 By:
15 n y’ 5
Attorneys for Defendant Saunders & McMillin,
16 Inc.
17
18
Dated: WALSWORTH, FRANKLIN,' BEVINS 8c
19 McCALL, LLP
20
By:
21 Wesley Tonel, Esq.
22 Aiiomeys for Defendant superior waii systems
23 Inc.
24
25
26
27
28

 

 

3

This fax was received by GF| FAXmaker fair server For more information, visit http Ifwww gfi com

_ i=_ro_ 46_340636 Page eis . c_)§ie_sii@izoo?r 7Aivi

` _. ' ___ __

Case 2:06-cv-O4857-FI\/|C-ii Document 94 Filed 08/22/07 P‘ge 9 of 49 Page |D #:122 ,
_ f 1 __ '

 

 

 

 

§§ i‘
1 Dated: MARKS, GOLl/\. & FINCI-I, LLP :"
2 By: j ‘
3 Jascm R. T1'hcirnti::ir1, bsq. *’ `
Attomeys for Defendants _ _
4 West Coast General Co . Soi.ithern Cali'forma
5 Contr~actors` Inc. and Ro ert Blew
6
7 LAW OFFICES OF GLENN M. HORAN
3 Dated: By: '
9 Glerm M. l-loran, Esq.
10 Attorrieys for Defendant
Castlerock Environmental, lnc.
11
12
13 Dated: RAMEY & DeBLANC, LLP
14 By:
15 John Ramey, Esq.
Attomeys for Dcfcndarit Sauriders & McMillin,
16 Inc.
17
18
Dated: WALSWORTH, FRANKLIN, BEVINS &
19 MCCALL, LLP
20 MZ/
By:
21 Wesiey Tonr:r, Esq./ ‘-_
22 Attomcys for Defendant Superior Wall Systems, *
23 Inc.
24
25
26
27
28

 

 

This fax was received by GF| FAXmakerfax server For more information, visit http i'!wvvw gfr com

 

G

Case 2:06-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 P‘ge 10 of 49 Page |D #:123n

3

p_¢

Dated: OFFICE OF THE U.S. ATTORNEY

By:

 

Kus§el] W. C_hlttenden, Esq.
Asslstant United States Attomey

`\"" ”"\-=a`F\-HT'.`**.
le

:,i s,_,z-»l_»¢rr:r

Att_ome s for Defendants
Un;ted rates of Amerlca and
Umted States Department cf Labor

\OOO*--_IO\Lh-D-L»JN

l\)l\)l\-)[\JN[\J[\J{\-)[\)-‘>-i->-_i_~»--i_ai_->_a»_¢
OG*~JO'\LJl-BLJJN’_*C>\OOG`-]Q\LJ\-P`-WN*_*O

 

 

 

Case 2:06-cv-O4857-F|\/|C-R‘ Document 94 Fi|`ed 08/22/07 Pae 11 of 49 Page |D #:124 q

\OOO-~JO‘\U`I-llvu)[\)'_‘

l\Jl\)[\.)[\)[\_)[~Jl\J[\)[\J>_-i_~p-¢>_¢i_a~_a»_¢-\i_¢»_o
OO`\}O\M-P~L¢Jl\.)>_-C:}\DOO-JO\LJ\LW{\J'_‘C

 

@@®WORDER

IT IS HEREBY ORDERED THAT:

Complaint, which will be deemed served When this stipulation is signed by the
Court, pursuant to L.R. 15-3 (ii) that a Defendant’s original Answer in this action
may be deemed its response to the Second Amended Cornplaint; (iii) that any new
material allegation may deemed denied; (iv) that any Defendant other than the
United States shall have twenty (20) days to respond, should a Defendant choose to
do so; (v) that the United States shall respond per the pending ruling on its motion

to dismiss; and (vi) that the dates in this matter should be continued for sixty (60)

days as set forth below:

Discovery Cutoff
Last Day to Add Parties

Expert Designation

Last Day to Hear Motions

Last Day to Complete
Settlement Procedure

Pre Trial Conference

Trial

Dated: %Z%F

Existing Date

October 29, 2007
October 29, 2007
Per FRCP

Dec. l0, 2007

November 29, 2007
January 14, 2008

February 5, 2008

    

.1.>
¢.',¢
".
1 i

(i) Plaintiff Kent Twitchell may tile and serve the attached F"rrst”Amendedi:‘;i

. 3 é
March;i,/zoos

Proposed Date

December 28, 2007
December 28, 2007

Per FRCP

January 28, 2008

March 17, 2008

3 iri'="i ,M/
Aprii;f, 20a i;;-'~’~“

 

Case 2:06-cV-O4857-FI\/|C-|¥ Document 94 Filed 08/22/07 we 12 of 49 Page |D #:125 _

 

Case 2:.0

\OOO-lO\LJ\-lh-LJJ\\J*-*

OO "l O\ L.ll -cb,LJ-) N l_ 0 \D 00 \-] O`\ (J'l -P`~ m N '_* 0

5-cv-O4857-F|\/|C-¥ Document 94 Filed 08/22/07 we 13 of 49 Page |D #:126‘

Le_s 1 Weinstein (State Bar No. 36727

William J_. Brutocao (State Bar No. 7 959) i_»
A. Er1c B or§i/IimIéState Bar No. 198392 in
sHELDo'N A RosE &_ ANDERSO PC i;i-i
100 East Corson St_reet, Third Floor ;;§
Pasadena, Cahfornla 91 l03-3 842 vii
Telephone: 626)) 796-4000 ‘~"
Facsn_mle:_ 626 795-6321

E-Mall: eb_iorgum@uslp.com

Attorneys for Plaintiff
KENT TWITCHELL

UNITED STATES DISTRICT COURT FOR

THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DivlsIoN
Case No. CV 06-4857 FMC (RZx)
KENT TWITCHELL,
~ _ _ sECoND AMENDED COMPLAINT
Plamtlff, F()R; _
(i) vioLATioN oF THE visUAL
_ v- ' ARTIsTs AcT oF 1990 (17
`WEST COAST GENERAL (ii) ii\`ii“`§i\iillg§ig)i DESECRATION
CoRPoRATioN~ soUTHERN OF A WORK OF FINE ART (Cal
CALiFoRNiA CoNTRACToRs, C- Code 987 ) 1 ). --'
INC" YOUNG WOMEN’S cgossr\dnsc(irhdl\ii) ’
cHRtsTIAN AssociATIoN 0F (1“)
GREATER LOS ANGELES DESECRATION or A WoRK oF
CALIFORNIA- PB DEWBERRY, A FINE ART (Ca_l Clv- C<>de §
PARsoNs BRiNKERHoFF _ 987](\]<§/]%21%, ge ,
DEWBERRY DESIGN GRoUP lv) CO S ;
JoiNT vENTURE- JoHN v) NEGLIGENCE'
FRALEY; RoBER’r BLEW- vii sTATUToRY UNFAIR _
uNnEr) sTATEs oF AMERICA- CoMPETlTIoN; and

UNITED sTATEs DEPARTMENT (vii) NEGLIGENT sUPEvasioN
oF LABoR; cAsTLERoCK

ENVIRONMENTAL iNC.~

sUPERIOR WALL s’YsTE‘Ms

INC.; sAUNDERs & McMILL’iN,

INC.; RICHARD P. WALLACE;

DHA & As soCIATEs,

CHARTERED; and DoEs 1-10,€¢

al.,

Defendants

 

 

 

 

Case 2:0

\DOO-JO\MLL)J[\)'-‘

NN\\)N!‘Q!\)\\JN\\J>-di_\i-¢i_~i-~»-¢i-d»-¢»-i-
OC-JO\Lh-PWNr--‘C\DOO`JO'\Lh-PL)JN'-“O

 

5-cv-O4857-F|\/|C-Z Document 94 Filed 08/22/07 we 14 of 49 Page |D #:127 ;

-.

Plaintiff Kent Twitchel1 (“Twitcheli” or “Plaintiff’) complains and alleges
against the named Defendants and Does l-10 (collectively, “Defendants”), or:i:i
personal knowledge as to his own actions and on information and belief as to:iihe

in

actions of others, as follows:

INTRODUCTION TO SECOND AMENDED COMPLAINT

l. This Second Amended Complaint (“SAC”) adds as Defendants Delon
Hampton & Associates, Chartered (“DHA”) and Richard P. Wallace. The SAC is
necessary because, prior to this amendment, only limited information was made
available to Plaintiff regarding the identity of Mr. Wallace’s employer and Mr.
Wallace’s individual role in this matter.

2. The SAC also adds claims against two of the existing parties and DHA

for negligent supervision

JURISDICTION AND VENUE

3. This action arises under section 106A of the Copyright Act of 1976, as
amended in 1990 to include the V,isual Artists Rights Act (“VARA”). This Court
has jurisdiction over matters arising under VARA pursuant to 28 U.S.C. § 1331
(federal question actions), 28 U.S.C. § 1338 (a) (exclusive jurisdiction over
copyright actions) and 17 U.S.C. § 501 (remedies for copyright infringement
include rights under VARA). This Court has supplemental jurisdiction pursuant to
28 U.S.C. § 1367 over the state law claims because they arise from the same facts
and concern the same subject matter as the federal claims.

4. The action against the United States arises under the F ederal Tort
Claims Act (“FTCA”), 28 U.S.C. § 1346. Jurisdiction over the United States in this
Court is predicated on 28 U.S.C. § l346(b). As required by 28 U.S.C. § 2675,

Plaintiff filed an administrative claim with the United States Department of Labor

 

 

Case 2:0

\DOO'-~]O\U'l-L`~L»JN»--\

NNNNNNNN[\)i-di_\r_~i_->_¢»-ii_\i_i--
OO\]O\MLWN’_‘O\D®`~]O\U\-P~LNN'_“O

 

5-cv-O4857-F|\/|C-¥ Document 94 Filed 08/22/07 Pge 15 of 49 Page |D #:128 ;

(“DOL”) (the appropriate federal agency) on or about July 17, 2006. That claim
has been left without action by the agency for six months A true and coneci:dopy
of that claim is attached hereto as Exhibit D Plaintiff can assume that the claim
has been denied and that his administrative remedies have been exhausted, sb that
jurisdiction in this Court ls appropriatel 28 U.S.C. § 2675.

5. Defendants are subject to the personal jurisdiction of this Court
inasmuch as they are located in California or have purposefully availed themselves
of the privileges of doing business in California With regard to the actions alleged
herein, and such jurisdiction is reasonable

6. Venue is proper in this district pursuant to 28 U.S.C. § 139l(b)(l)
(because all Defendants are physically located in California or are corporations
residing in California for purposes of venue, and at least one of them is located in
the Central District of California), 28 U.S.C. § l39l(b)(2) (because a substantial
part of the acts complained of occurred in the Central District of California and the
property at issue is located in the Central District of California) and 28 U.S.C. §
l39l(b)(3) (because at least one defendant resides in the Central District of
California, and there is no other district in which this action may otherwise be
brought).

t 7. Venue against the United States is proper in this district pursuant to 28
U.S.C. § l402(b) because plaintiff resides in this district and the acts or omissions
occurred in this district.

PARTIES

8. Plaintiff Twitchell is an individual residing in Los Angeles County,
California. Twitchell is an accomplished muralist and artist who created the 10,000
square foot mural known as the “Edward Ruscha Monument” (“Ruscha
Monument”) that is the property at issue in this action.

9. On information and belief, Defendant United States operates the Job

Corps program through the DOL; On information and belief, the Job Corps

 

 

Case 2:0

\ooo~_lo-ui`-i=>o~)r~)»-‘_

NNN[\)NNN[\J[\)v-*r-~i_‘i_vi_~i_~i-#»_-i-eh-
OQ\JO\LALLHN’_‘O\OOO\]G\V\LL»JN*_‘O

5-cv-O4857-F|\_/|C-13 Document 94 Filed 08/22/07 Pee 16 of 49 Page |D #:129 _

currently operates directly under the Secretary of the DOL, pursuant to the
Department of Labor Appropriations Act, 2006, Pub. L. 109-149. On inforni:a:tion
and bclief, the Job Corps is a program administered by a partnership between:ii;he
United States and local private or government organizations, which periodically bid
on the contract for administration of the Job Corps. On information and belief, all
buildings housing Job Corps centers are owned and operated directly by the DOL,
not another agency (such as the General Services Agency which operates many
federal buildings).

10. On information and belief, Defendant Southern Califomia
Contractors, Inc. (“Southem Califomia Contractors”) is a Califomia corporation
with its principal place of business in Huntington Beach, Califomia.

ll. On information and belief, Defendant West Coast General Corporation
(“West Coast General”) is a Califomia corporation with its principal place of
business in Poway, Califomia.

12. On information and belief Defendant PB Dewberry, A Parsons
Brinkerhoff Dewberry Design Group Joint Venture (“PB Dewberry”) (previously
sued as Dewberry & Davis Service Operations, Inc.) is an unknown entity with its
principal place business in Arlington, Virginia.

13. On information and belief, Young Women's Christian Association Of
Greater Los Angeles, Califomia (“YWCA”) (previously sued as YWCA of Greater
Los Angeles Development Corporation) is a Califomia corporation which operates
the Los Angeles Job Corps Center pursuant to a contract with the DOL,

14. On information and belief, Defendant Robert Blew is an individual
employed by West Coast General and residing in or around San Diego County,
caiironiia. '

15. On information and belief, Defendant John Fraley is an individual
employed by the YWCA/Job Corps and residing in or around Los Angeles County,

Califomia.

 

 

 

Case 2:0

\DOO-JO\<J|-LL)J[\.)>_-

l\->NNNNN[\)NN'_*»-*i_ii_‘>_-»_-»_¢i-‘i_li_a
OC`~JO\Lh-BLJJNF_‘O\DOO\-]O\Lh-P-`~DJN'_‘C

6-cv-O4857-F|\/|C-¥ Document 94 Filed 08/22/07 we 17 of 49 Page |D #:130 ‘_

16. Upon information and belief, Defendant Castlerock Environmental,
Inc. (“Castlerock"), is a Califomia corporation with its principal place of busii:rjess

.i

in Santa Fe Springs, Califomia. ;=i“:`
ih ll
dr l

17. Upon information and belief, Defendant Superior Wall
Systems, Inc. ("Superior Wall), is a Califomia corporation with its principal place
of business in Fullerton, Califomia.

_18. Upon information and belief, Defendant Saunders & McMillin, Inc.
("Saunders & McMillin"), is a Califomia corporation with its principal place of
business in Riverside, Califomia.

19. On information and belief, Delon Hampton & Associates, Chartered
(“DHA”) is a professional corporation with its headquarters and place of
incorporation in_ Washington, D.C., and an office in Los Angcles, California.

20. On information and belief, Defendant Richard P. Wallace is an
individual living in`or around Arlington, Virginia, and at all relevant times was an
employee or agent of DHA or PB Dewberry, and Mr. Wallace’s job title was “PB
Dewberry Regional Project Manager.”

21. Twitchell is unaware of the true names and capacities, whether
individual, corporate, associate or otherwise, of defendants Does l through 10,
inclusive, or any of them, and therefore sues these defendants, and each of them, by
fictitious names. Plaintiffs will seek leave of this court to amend this complaint
when the status and identities of these defendants are ascertained

22. Specifically, on information and belief, Defendants Does 1-3 are
business entities or individuals operating in Califomia and who worked as
contractors, subcontractors or in conjunction with other named defendants to
desecrate the Ed Ruscha Monument, as discussed further below.

23. On information and belief, Defendants Does 4-6 are individuals
working on behalf of the United StatestOL, the United States General Services

Administration, or some other federal agency and who operated outside of their

 

 

 

Case 2:q

\DOO-~]O'\!J¢-LWN*'-‘

N l\) N N [\) N N,N [\.) r- »_* i--\ i-\ i_~ i--\ »_1 »_~ i_~ id

6-cv-O4857-F|\/|C-13 Document 94 Filed 08/22/07 Pge 18 of 49 Page |D #:131`_

authorized capacity and have individual liability for the desecration of the Ed
Ruscha Monument and may have liability for the actions complained of herei§_

24. on information and belief, Defendants ones 7-10 are indrvrdna§ipr
business entities working alone or in conjunction with any of the private or piiblic
entities identified herein and who may have liability for the acts described herein
If necessary, Plaintiff reserves the right to request leave to identify additional Doe
defendants, should their number exceed 10.

25. Plaintiff Twitchell is informed and believes, and on that basis alleges,
that at all relevant times mentioned in this Complaint, Defendants were acting in
concert and active participation with each other in committing the wrongful acts
alleged herein, and were agents of each other and were acting within the scope and
authority of that agency and with knowledge, consent and approval of one another.

26. Plaintiff Twitchell is informed and believes, and on that basis alleges,
that at all relevant times mentioned in this Complaint, Defendants were acting
oppressiver and/or with malice.

` GENERAL ALLEGATIoNs
A. PLAINTIFF KENT TWITCHELL’S MURALS

27. Plaintiff Twitchell is an artist who has been painting public murals for
over 30 years. After serving as an illustrator in the Air Force, Twitchell moved to
Los Angeles in 1966. In 1972, he earned a Bachelor of Arts degree from the
Califomia State University at Los Angeles,(and in 1977 he earned a Masters of Fine
Arts degree from the Otis Arts Institute in Los Angeles. Twitchell has painted over
100 portraits within some 30 exterior murals, mostly in Los Angeles.

28. Twitchell and his work have been featured in numerous publications,
magazines, books and television shows, including The Los Angeles Tz'mes, Variety,
The New York Tr`mes, T he Phr`ladelphr'a Observer, Artweek and “Charles Karault’s
Sunday Morning.” `

 

 

 

Case 2:0

\OOO\lG\CJI-¢>~b-IN'_*

NNN[\>NNNN[\Ji_*i-*i_»i_-i_¢>-di_li_ai_\i-_a

5-cv-O4857-F|\/|C-1¥ Document 94 Filed 08/22/07 Pae 19 of 49 Page |D #:132

B. rwrrcHELL AND THE CREArroN oF THE luisan
ivioNUMENT §

'J'

}_\_»\‘

29. In 1978, Twitchell began painting the Ruscha Monument on the §face of
the so-called “Los Angeles Job Corps Building,” located at 1031 South Hill Sfieet
(“1031 S. Hill St.”) in downtown Los Angeles, at the intersection of Hill and
Olympic Streets. Ed Ruscha is a prominent contemporary artist, and the Ruscha
Monument is one in Twitchell’s series depicting artists and other creative persons.

30. On information and belief, the building at 1031 S. Hill St. is, and was
at all times relevant, owned by the DOL and the United States and is housing the
Job Corps. On information and belief, the United States also owns the adjoining
parking lot, access and use of which facilitated the desecration described herein.

31. Twitchell’s work on the Ruscha Monument began at the invitation of
the Job Corps. Twitchell worked on the mural (on a non-full time basis) between
1978 and 1987.

» 32. When the mural was completed, the figure of Ruscha stood seventy
feet tall. The entire mural covered approximately 10,000 square feet. A
reproduction of a photograph of a portion of the Ruscha Monument is shown below

and attached in larger format as Exhibit A hereto.

 

 

 

Case 2:0

\DOO--]G\V'\-{`-`~L»J[\)i_~

NNNNNNNNN»_*i-~i_\i_ii_\>-~i-¢h_¢>_¢>_~

5-cv-O4857-F|\/|C-|% Document 94 Filed 08/22/07 P“e 20 of 49 Page |D #:133 l

 

C`. DEFENDANTS’ DESECRATION OF THE RUSCHA MONUMENT

33. On information and belief, sometime in the last three years, the Chief 1
Executive Officer of the YWCA, Faye Washington, requested of the DOL that
repairs be made at 1031 S. Hill. Sometime after that, representatives of PB
Dewberry, a design, engineering and program management firm, visited 1031 S.
Hill to inspect the building On information and belief, PB Dewberry
recommended that certain work be done at 1031 S.. Hill, which included or resulted
in desecration of the Ruscha Monument. On information and belief, Southern
Califomia Contractors was hired as the general contractor.

34. On information and belief, Defendant Castlerock was hired pursuant to
a subcontract by Southern California Contractors to perform lead paint abatement

and related work on the Ruscha Monument, which resulted in holes being punched

 

 

 

Case 2:0

\DOO`-]O\Lh-I>-L)JN*_‘

Nl\)[\)l\-)NN\\)[\J[\_)i-¢r-‘i-»_-i_\i_>_~i_\i-~»_~
OO‘-.]O\U`|-PWNF_‘C\DOQ`--]O\U'l-PWN"'*©

 

 

5-cv-O4857-F|\/|C-1% Document 94 Filed 08/22/07 Pae 21 of 49 Page |D #:134

in the Ruscha Monument. On information and belief, Defendant Superior Wall

ti 1‘1
Systems was hired pursuant to a subcontract by Southern Califomia Contractgfs to

‘U'
.4

perform work that resulted in desecration of the Ruscha Monument. On f§:§
information and belief, Defendant Saunders & McMillin was hired pursuant id a
subcontract by Southern Califomia Contractors to perform painting, which resulted
in the painting over of the Ruscha Monument.

35. On information and belief, Does 7-10, working on behalf of PB
Dewberry, Southern Califomia Contractors or any of the other subcontractors or the
United States, recommended that work be done on the wall resulting in the
desecration of the Ruscha Monument, or performed such work.

36. On information and belief, in or about November, 2005, Defendant
John Fraley, the Los Angeles Job Corps Center’s Director of Administrative
Services, placed an inquiry to the City of Los Angeles's Cultural Affairs '
Department asking about any City laws pertaining to desecration and/or
preservation of murals. On information and belief, the City expressly told F raley
that the City has no such law or ordinance, but that federal (VARA) and state
(Cal. Civ. Code § 987, the Califomia Art Preservation Act or “CAPA”) statutes
expressly forbid desecration of public works of art without notification to the artist,
giving him an opportunity to remove the mural.

37. On information and belief, Fraley communicated the requirements of
CAPA and VARA to Defendant Wallace, who was employed by Defendant DHA
and operating as an agent for Defendant PB Dewberry. On information and belief,
Defendant Wallace told Fraley that he would need to pass the legal information
along Defendant DOL/United States. On information and belief, Defendant
Wallace later authorized desecration of the Ruscha Monument without receiving
any further information relating to VARA and CAPA.

38. On or about June 1, 2006, Nathan Zakheim, an art preservationist and

restorer, arrived at the Ruscha Monument to begin some preliminary repair work,

 

 

Case 2:0

\DCO--.]O\<J'l-[>-QJN'_‘

NNNNN[\)I\)N[\)i-d»_~i_li-¢»_-i-p_¢r_a,_~,_-
OO-JO\\JT-p-`~WN'_‘©\DOO‘-]O`\U\-DWN'_‘O

6-cv-O4857-F|\/|C-|% Document 94 Filed 08/22/07 Pae 22 of 49 Page |D #:135 _

including removing some graffiti at the bottom of the mural. Zakheim was under
contract with the City of Los Angeles to do such work. j§':;i
39. When Zakheim arrived at the Ruscha Monument on June l, 2006;~';§ he
saw workmen punching holes into the exterior surface of the wall. Zakheim iiiok
photographs of that work being done. A photograph of the mural on that day is

shown below and attached hereto in larger format as Exhibit B.

 

 

 

40. Zakheim asked to speak with someone in charge. On information and
belief, he was introduced to Defendant Robert Blew, who was the job
superintendent working for Defendant West Coast General. On information and
belief, Defendants West Coast General and Southern Califomia Contractors are
related to each other under the Small Business Administration’s “mentor/protégé”
program, as detailed 13 C.F.R. §124.520. Zakheim informed Blew that state and
federal laws prohibit desecration and mutilation of the Ruscha Monument and
asked him to stop work. It was likely at that point that the mural could have been
restored, removed and recovered, using techniques that Zakheim has used to
successfully restore or relocate to Twitchell’s satisfaction other murals painted by

Twitchell. On information and belief, Blew refused.

 

10

 

 

 

Case§Z:O 5-cv-O4857-F|\/|C-1% Docurnent 94 Filed 08/22/07 P“e 23 of 49 Page |D #:136 §_
_ l 41. On information and belief, Does 1-3 are individuals or entities who
2 ignored Zakheim’s warnings regarding Twitchell’s rights and/or performed work
3 assisting in the desecration of the Ruscha Monument. Plaintiff will seek leav:d:f to
4 amend to add these Defendants when they are identified iii
5 42. The next day, on or about June 2, 2006, Zakheim returned to the 1031
6 S. Hill St. The Ruscha Monument had been completely painted over. The wall
* 7 became one solid color. A photograph of the current state of the Ruscha
8 Monument 1s shpwlr_bel§)yv_and 1s attached hereto m larger format_z§l§§xhibit C.
9 lwm 1
10
ll
12
13
14
15
16
1.7
'18
19 Zakheim informed Twitchell of the desecration of the mural. Twitchell was
20 extremely distraught because the mural was one of his primary creations.
21 Zakheim’s call was the first Twitchell had heard of any plans to paint over or
22 modify the Ruscha Monument.
23 43. On information and belief, the Ruscha Monument was desecrated and
24 painted over by individuals associated with Defendants Southern Califomia
25 Contractors, West Coast General, Saunders & McMillin, Castlerock, Superior Wall
26 or Does 1-3 who were acting on instructions from Defendants PB Dewberry, the
27 YWCA, DHA or the United States. On information and belief, Defendants YWCA,
28 Southern Califomia Contractors, West Coast General, DHA and Does 1-3 and Does

 

ll

 

 

Case 2:C

\OOO-_IO\CJ\LL)JN’_‘

[\J [\) l\J [\) l\.) N [\.) [\.,) [\_) i»_~ i-» i_\ i-- i_a >_~ i_~ i_~ i_~ i_~
00 `--l O\ LI`I -§- bJ [\) *_* C \D O'O"-~l O\ L)'l 45 L.»J l.\) l_‘ C>

6-cv-O4857-F|\/|C-13 Document 94 Filed 08/22/07 Pae 24 of 49 Page |D #:137

7~10 knew or should have known facts which would warn a reasonable person that

»».
._1

the employee(s) of their respective firms presented an undue risk of harm to 1

t
Twitchell in light of the particular work to be performed Zir,

1. ..!

,i.
ii-
w

44. On information and belief, Does 4-6, working for the United Staids,
exercised power outside their scope of authority and authorized or ordered the
desecration of the Ruscha Monirment. Plaintiff reserves the right to amend this
Cor_nplaint to add those individuals as defendants when they are identified

45. On information and belief, Does 7-10 are also responsible for as yet
unknown acts and in unknown capacities for the desecration of the Ruscha
Monument. Plaintiff reserves the right to amend this Complaint to add those

individuals as defendants when they are identified

FIRST CAUSE OF ACTION
(lnf`ringement of Right of Integrity (17 U.S.C. § 106A) Against All Defendants)

46. Plaintiff realleges and reincorporates paragraphs 1-45 above, as
though set forth fully herein.

47. Plaintiff Twitchell is the author of a work of visual art, the Ruscha
Monument, which he created between 1978 and 1987 on the site of 1031 S. Hill
St., Los Angeles, Califomia. Twitchell is a citizen of the United States. The
Ruscha Monument was a work of recognized stature. Title to the Ruscha
Monument had not passed prior to the effective date of VARA.

48. On or about June l and J unc 2, 2006, Defendants willfully and
intentionally desecrated, distorted, mutilated, and otherwise modified the Ruscha
Monument, in violation of Twitchell’s right of integrity therein, as set forth in
Titie 17, Section 106A(a)(3)(A) and Section 106A(a)(3)(B) of the United States
Code. Defendants did so by, among other things, punching dozens of holes in the
Ruscha Monument, then painting over it completely Twitchell was not notified

Defendants were on notice as to Twitchell’s legal right of integrity and its

 

12

 

 

Case 2:C

\OOO--JO\U"i-I`-*-L)Jl\-)*_'

NI\)NNNNNNN>_"_"_‘»-‘>_~i_~i~>_»>_~»--
OO\IO\UILLJJ[\)*_‘O\O®`~JO\(J`l-LW[\)F_*O

6-cv-O4857-F|\/|C-1‘ Document 94 Filed 08/22/07 Pie 25 of 49 Page |D #:138

protection under the laws of the United States and Califomia. Twitchell has not
waived any of his rights of integrity under Section 106A. i:i
49. Defendants’ acts described above were willful and intentional ar§id/or
grossly negligent Defendants’ desecration, distortion, mutilation and other §§
modification of the Ruscha Monument is the proximate cause of prejudice to

Twitchell’s honor or reputation

SECOND CAUSE OF ACTION
(lntentional Desecration of Fine Art - Cal. Civ. Code § 987(c) (1), (e), Against All
Defendants)

50. Plaintiff incorporates paragraphs l--45, above, as though set forth
fully herein.

51. As more fully set forth above, between 1978 and 1987, Plaintiff
created the Ruscha Monument, a work of fine art and of recognized quality,
located at 1031 S. Hill St. in Los Angeles, Califomia.

52. On or about June 2, 2006, Defendants willfully and intentionally
distorted, mutilated, and otherwise modified the Ruscha Monument, in violation of
Twitchell’s right of integrity therein, as set forth in Cal. Civ. Code § 987.
Defendants did so by punching dozens of holes in the Ruscha Monument, then
painting over it completely, all without notice to Twitchell. Defendants were on
notice as to Twitchell’s right of integrity, as protected both under the laws of the
United States and Califomia.

53. Defendant’s willful and intentional distortion, mutilation and other
modification of the Ruscha Monument is the proximate cause of damage to
Twitchell in the amount of at least 85 million.

54. ln committing the acts described in this complaint, Defendants, and
each of them, acted in conscious disregard of the rights of Twitchell and were

guilty of malice, oppression and fraud in that they had been notified of Twitchell’s

 

13

 

 

Case 2:Q

\DOO--'|O\i-h-I>»L»N"-‘

NNNNNNNNNr-*>-*>_~i-i--»_-»_~i_¢i_\i_r

 

 

6-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 F&ie 26 of 49 Page |D #:139

rights of integrity on at least two occasions but consciously chose to desecrate the
Ruscha Monument without any notice to Twitchell and without taking advani:§ge
of preservation techniques that would have saved the Ruscha Monument for i:iiture
enjoyment The conduct of Defendants warrants an assessment of punitive
damages to the extent such damages are available against each Defendant, in an
amount appropriate to punish Defendants and deter others from engaging in

similar wrongful conduct.

THIRD CAUSE OF ACTION
l(Grossly Negligent Desecration of Fine Art (Cal Civ. Code § 987(c) (2), (e)),
Against All Defendants)

55. Plaintiff incorporates paragraphs 1--45, above, as though set forth
fully herein.

56. As more fully set forth above, between 1978 and 1987, Plaintiff
created the Ruscha Monument at 1031 S. Hill St. in Los Angeles, Califomia. The
Ruscha Monument is a Work of fine art and of recognized quality.

57. On or about June 2, 2006, Defendants, to the extent they were
entrusted to preserve and restore the Ruscha Monument, defaced, mutilated,
altered and desecrated the Ruscha Monument by acts constituting gross negligence
and/or intentional conduct.

58. The conduct of Defendants in attempting to preserve the Ruscha
Monument in a way that resulted in the desecration of the Monument, despite
actual knowledge of Plaintiff’ s rights, was carried on by Defendants in conscious
disregard of Twitchell’s rights. The conduct of Defendants was malicious and
oppressive so as to warrant an assessment of punitive damages, to the extent such
damages are available against each Defendant, in an amount appropriate to punish

Defendants and deter others from engaging in similar wrongful conduct.

14

 

 

Case 2:C

\OOO--JO\‘J`\LL»JN"_‘

NNN[\)NNNNNi-\>_¢r_-i_~i_»i_‘i_»r-i_¢r_¢
OO`~]G'\U\-PWN*_‘O\OW*~JQ\M~P-\L)JN'_‘C

6-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 F&;e 27 of 49 Page |D #:140

FOURTH CAUSE OF ACTION §
(Conversion Against All Defendants) i§i;

59. Plaintiff incorporates paragraphs l - 45 above, as though set fort§ `§

fully herein.

60. As more fully set forth above, between 1978 and 1987, Plaintiff
created the Ruscha Monument at 1031 S. Hill St. in Los Angeles, Califomia.

61. Twitchell has rights of ownership in the Ruscha Monument. On or
about June 2, 2006, Defendants intentionally deprived Twitchell of those rights by
mutilating and ultimately desecrating the Ruscha Monument. Defendants’ acts
constitute a permanent deprivation of Twitchell’s rights and constitute a
conversion under Califomia law.

62. The conduct of Defendants in converting Twitchell’s property was
carried on by Defendants in conscious disregard of Twitchell’s rights The
conduct of Defendants was so malicious, fraudulent and oppressive as to warrant
an assessment of punitive damages, to the extent such damages are available
against each Defendant, in an amount appropriate to punish Defendants and deter

others from engaging in similar wrongful conduct.

FIFTH CAUSE OF ACTION
(Negligence Against Defendants West Coast General, Southern Califomia

 

Contractors, PB Dewberry, Saunders & McMillin, Castlerock, Superior Wall,
DOL/United States, DHA, Richard P. Wallace and Does 1~3 and 7-10)
63. Plaintiff incorporates paragraphs 1--45, above, as though set forth
fully herein. `
64. As more fully set forth above, between 1978 and 1987, Plaintiff
created the Ruscha Monument at 1031 S. Hill St. in Los Angeles, Califomia.
65. Twitchell has rights of ownership in the Ruscha Monument.

66. By electing to make repairs on 1031 S. Hill St. in a manner that

 

15

 

 

Case 2:C

\OOG'-~]O\Lh-I>~L»JN*_‘

N[\JN[\)NN[\J[`:)N»->_~»_~»_~)_~p_»_\»_-,_a;_a

 

6-cv-O4857-F|\/|C-|; Document 94 Filed 08/22/07 fire 28 of 49 Page |D #:141

required altemation of the Ruscha Monument, Defendants PB Dewberry, Saunders
& McMillin, Castlerock, Superior Wall Systems, Does 1-3 and Does 7-10 owe:d a
duty of due care to Plaintiff Twitchell to preserve the Ruscha Monument. ;§

67. On or about June 2, 2006, Defendants PB Dewberry, Saunders &`
McMillin, Castlerock, Superior Wall Systems West Coast General, Southern
Califomia Contractors, DHA, Richard P. Wallace, Does 1-3 and Does 7-10
breached their duty of due care by, among other things, punching holes in the
Ruscha Monument and later painting completely over the top of the Ruscha
Monument.

68. As a foreseeable and proximate result of those acts, Plaintiff
Twitchell has lost all of his property rights in the Ruscha Monument, and has

suffered great harm to his professional reputation

SIXTH CAUSE OF ACTION
(Unfair Competition - Cal. Bus. &. Prof. Code § 17200 et seq. against all
Defendants)

69. Plaintiff Twitchell realleges and reincorporates the allegations of
paragraphs 1-45 above.

70. Defendants"actions complained of herein are unlawful, unfair, or
fraudulent business acts or practices, constituting unfair competition in violation of
Califomia Business and Professions Code §17200 et seq. Specifically, as more
fully set forth above, Defendants’ actions constitute violations of the Copyright Act
(17 U.S.C. § 101, et seq.), Cal. Civ. Code § 987 and Califomia common law.

71. Twitchell has suffered injury in fact and lost property as a result of
Defendants’ acts unfair competition and unlawful practices, as described above.
Accordingly, Twitchell is entitled to an Order under Califomia Business and
Professions Code §17203 for restitution

72. PlaintiffTwitchell realleges and reincorporates the allegations of

 

16

 

 

Case 2:0

\~OQO-~_]O\U'\LL)JN'_‘

N I`~J l\) [\) [\) [\) I\J N r--~ r-l »-1/.--¢ »_~ »_n r--\ >-¢ >-~ »_~

I\J
00

5-cv-O4857-F|\/|C-RZ Document 94 Filed 08f22/O7 we 29 of 49 Page |D #:142

paragraphs 1-45 above.

tit

73. Twitchell has rights of ownership in the Ruscha Monument. i'§

74. As a result of the work to be performed on the Ruscha Monumeiiz,
Defendants YWCA, Southern Califomia Contractors, West Coast General, UHA
and Does 1-3 and Does 7-10 owed a duty of due care to Plaintiff Twitchell to
preserve the Ruscha Monument.

75. On-or about June 2, 2006, Defendants YWCA, Southern Califomia
Contractors, West Coast General, DHA and Does 1-3 and Does 7-10 breached their
duty of due care by, among other things, punching holes in the Ruscha Monument
and later painting completely over the top of the Ruscha Monument.

76. Defendants YWCA, Southern Califomia Contractors, West Coast
General, DHA and Does 1-3 and Does 7-10 knew or should have known facts
which would warn a reasonable person that the employee(s) of their respective
firms presented an undue risk of harm to Twitchell in light of the particular work to
be performed

77. As a foreseeable and proximate result of those acts, Plaintiff Twitchell
has lost all of his property rights in the Ruscha Monument, and has suffered great

harm to his professional reputation

SEVENTH CAUSE OF ACTION
(Negligent Supervision against Defendants Southern Califomia Contractors,
_ West Coast General, the YWCA and DHA)
78. Plaintiff Twitchell realleges and reincorporates the allegations of
paragraphs 1-45 above. l
791 Twitchell has rights of ownership in the Ruscha{ Monument.
80. As a result of the Work to be performed on the Ruscha Monument,
Defendants YWCA, Southern Califomia Contractors, West Coast General, DHA

and Does 1-3 and Does 7-10 owed a duty of due care to Plaintiff Twitchell to

 

'17

 

 

Case 2:0

\OOO--JO\'J\-l>-L»JN'_‘

NNN[\)\NNNN[\)>_*»_-r_)_-»-»)-»r_~r->-dr_~
O°-~IO\vh-l=~wl\>»-C>\ooc-ac\u\.\>wr~.)-~o

5-cv-O4857-F|\/|C-R3 Document 94 Filed 08/22/07 Pae 30 of 49 Page |D #:143 j

preserve the Ruscha Monument.

81. On or about June 2, 2006, Defendants YWCA, Southern Califoni;i:ia
Contractors, West Coast General, DHA and Does 1-3 and Does 7-10 breache:d;{ their
duty of due care by, among other things, punching holes in the Ruscha Moniiiinent
and later painting completely over the top of the Ruscha Monument.

82. Defendants YWCA, Southern Califomia Contractors, West Coast
General, DHA and Does 1-3 and Does 7-10 knew or should have known facts
which would warn a reasonable person that the employee(s) of their respective
firms presented an undue risk of harm to Twitchell and his property in light of the
particular work to be performed As a foreseeable and proximate result of those
acts, Plaintiff Twitchell has lost all of his property rights in the Ruscha Monument,

and has suffered great harm to his professional reputation

PRAYER FOR RELIEF `

WHEREFORE, Plaintiff Kent Twitchell prays for judgment in his favor and
against Defendants as follows: l

a. That the Court preliminarily and permanently enjoin l)efendants, their
subsidiaries, parent and affiliated companies, successors, assigns, officers,
directors, agents, partners, servants, employees, licensees, licensors and attorneys
of those companies or individuals, and all others in active concert or participation
with Defendants, from further desecration of the Ruscha Monument;

b. That the Court order Defendants to pay for adequate testing
and, if possible, restoration and/or removal of the Ruscha Monument.

c, That the Court order Defendants to pay to Twitchell
damages sufficient to compensate him for all damages resulting from
desecration of the Ruscha Monument, including, but not limited to
deprivation of Twitchell’s property rights and damage to his reputation;

d. That the Court assess punitive damages against Defendants

 

18

 

Case 2: )6-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 P;%e 31 of 49 Page |D #:144

 

(except the United States) sufficient to punish them others from

engaging in similar conduct in the fu`ture;

¢.,1

RR.,.

e. That the Court award Twitchell his statutorily mandated

_r en rim r'~.‘¢_;.'_.~

costs of this action, together with reasonable attorneys' fees, experts and

Cr_.~

disbursements; and

f. That the Court grants such other and further relief as the

Court deems just and equitable

DATED; Augus@ 2007 sHELDoN MAK RosE a ANDERsoN PC

a)i{%; %Ea

William J. Brutocdo/ w
A. Eric Bjorgum
Attorneys for Plaintiff
Kent Twitchell

 

19

 

 

Case 2:

\ooe-no~\v\-I>L»N'_“

[\.}[\)»_->-\1_4»->_¢»--)--)-»-*»--
YOEJJEJ\UP.§BB»-c>\ooo~ac\w->WN"*O;

United States.

DATED; August ZO, 2007

 

36-CV-O4857-F|\/|C-¥ DOCUment 94 Filed 08/22/07 P€e 32 Of 49 Page |D #:145

DEMAND FOR JURY TRIAL
AGAINST ALL DEFENDANTS EXCEPT THE UNITED STATES
Plaintiff hereby demands trial by jury as against all Defendants except the

SHELDON MAK ROSE & ANDERSON PC

 
     

By:
William J. Bruto ao
A. Eric Bjorgum
Attorneys for Plaintiff
Kent Twitchell

 

Case 2:06-cv-O4857-F|\/|C-‘ Document 94 Filed 08/22/07 iga 33 of 49 Page |D #:146.

VT

;r;r-,~
__,._,_J

\»'4.\ ui' l `

-$""»"“'1;1`.§,

 

 

 

Case 2:06-cv-O4857-F|\/|C-R‘ Document 94 Filed 08/22/07 P“e 34 of 49 Page |D #:147

l

"'¢~¥~>r

a
4 intense :_,.

,~r.;`

 

Exhibit A
§/

 

Case 2:06-cv-O4857-F|\/|C-|% Document 94 Filed 08/22/07

 

P‘e 35 of 49 Page |D #:148

P.M.l_.,
*' .¢

., » ,`=.‘...,
_,\__i-lr’;r*{r :¢

 

Case 2:06-cV-O4857-FI\/|C-|i Document 94 Filed 08/22/07 Pie 36 of 49 Page |D #:149

\
_`¢‘

M;~GD~ C'i">° go ‘¢)

""k:

/

.. ',~ '*-,
tarr/Pva ‘°
._.

 

 

 

Exhibit B
£?-

 

v | '_

Case 2:06-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 Page 37 of 49 Page |D #:150

‘\» l'»

"‘- .n.=..r.. _,_,
_r"»_l §§"F“‘x'._'§¢'

\T."»

 

"EleBlT c "

Case 2:06-cv-O4857-F|\/|C-RZ Document 94 Filed 08/22/07 P‘ge 38 of 49 Page |D #:151

»__,-'

, »~_
_: §+Hl"'t“vg\*.’r *_¢

¢-\~,.»-_.».

 

 

 

Exhibit C
2 3

 

\

Case 2:06-cv-O4857-F|\/|C-|3 Document 94 Filed 08/22/07 P“e 39 of 49 F.>age |D #:152

l‘ l

,~..~..:rr:':: ;-

}._,r-s..

,rf_

 

 

Case 2:06-0v-O4857-F|\/|C-[B§ Document 94 Filed 08/22/07 /F}age 40 of 49 Page |D #:153

 

CLAIM FOR DAMAGE,W INSTRUCTIONS‘ P|ease read caretuttylhe`i`n'structions on the FORM APPROVED

 

 

 

 

v OMB NO
reverse side and supply information requested on both sides ot this
INJUR¥’ OR DEATH form Use additional sheettst if necessary See reverse side lot 1105'9005
additional instructions
t Sut'imit To Pipproprtate Federat Agency 2 Narna_ Address ot claimant and claimants personal representative; it
any (Sae instructions on reversal (Nuiither_ Slreet, City, State and Zip
Department of tabor in its own capacity and in its capacity ot Administralor ot the Code) t:;
Job Corps A Slm]lar dam ls bemg med w'm the GSA as a precamlonary matter Kent Twitchell 100 Loma Avettue Long Beach Califomia 908‘03
A Eric Biorguin, Esq.. Shetclon & ltllaii PC, 225 South take itt
Avenue Pasadena, Cali!`ornia 91101 ;j:
:'
3 TYPE OF EMPl.OYMENl 4. DATE OF EllRTl-t 5. titAFtlTAL STATUS 6 OF ACCtDENT 7 TlME (A trt OR P.M )
ft MlLl-YP\RY ’3 C!VlLlAN 8/1711942 Mamgd 611[2006 ,Se|ec[ Day.

 

 

 

 

 

B Basis of Claim (State in detail the known facts and circumstances attending the damage‘ iniury. or deathl identifying persons and property involved the

tr place ol occurrence and the cause thereatl Use additional pa es it necessary)
tie asis of this claim is the wrongful and tortious conduct or the nited States Department of l_at)or t“DOL”) and its agents and representatives in desecrating

ntiti|ating and possibly totatty destroying claimant Kent Twitclietl's moral entitled *Ed Ruscha Monument' t"the Worl<") The Work was a Sl>t Sloftl 70\`00!1€\1|
moral portrait ot the artist Ed Ruscha which took Twitchell nine years of on-again-olt-again work to completel iiwas painted onto the side ot a Job Corps
building owned by the United States and tlie DOL and located at ttJBt S Hill Street, Los Angeles, Califomia Twitchell is a prominent public artist and highly
regarded muratist whose work appears throughout Los Angeles and in other U S cities The Work was recognized as one ot his greatest achievements
paniculaitytor its cultural contribution to t.os Angelesr Ed Ruscha is among the greatest living artists from Los Atigetes, and has a national and international

 

reputation (See Attachment "A")

 

 

g Pnoi=i=.n'rir entrance

 

NP~ME AND ADDRESS OF GWNER 155 C|THER TEtAN CLA|MANT {Nuntl:ar Stre€t, City State, and le CO¢JE)

 

BRlEFLY UESCIUBE THE FROPERT‘!', NA"YURE AND EXT'(-_NT 035 DAMAGE AND THE LQCAT|ON WHERE PROPERTY ?t'LA\' BE lNSPECTED_

Se instructions on rev rsa side}
eli/tlorlt was a mura occupying the entire side of a building occupied by the DOL's Job Corps. owned by the DOL and located at 1031 8 Hill Street Los

Angeres, catttornia The Work has been desecrated covered over and liker been destroyed (See Attachment "B")

 

il’} PERSDNAL INJURYI'WRONGFUL DEATH

 

STATE NATURE AND t£itTENT OF EACH tN.tuitY OR cause OF penri~i witch FORMS THE ansls OF THE curtin tF OTHER titan CtniiiiANT. sTATE NAME oF
i Ft NT
t.lr'ingrF\F/?F?X. 159 ll §pLDECtED%§\ inter alia and Cat Ctv Code § 987, Twitchell`s right of integrity in the Work has been completely destroyed or severely
mpaired This incident has left a note in his oeuvre that cannot be titled Persorta|iy. tie is tn a state shock and disbelief and has suffered emotional pain
Under Califomia common and statutory laws Twitchell has been permanently and completely deprived of his rights ot ownership in the Work such thatthe
Department‘s actions have enacted a conversion and taking ot his property

 

 

 

 

 

 

 

tt WlTNESSES
NAME AUDRESS{Nun"ber Street City Statc. and Zip Code)

t Kent Twitchell l_ gee Above
'i Nathan Zakheim ii i= o cox iioza, marina net Rey. california 90295-2929
iii PatGoinez Los Angeles Department ott.‘,ulturat m 201 N Figngma Siieei Suiie tiidt). Los Angeles, Califomia 90012
Atfairs

12 (See instructcns cri reversi:) AMOUNT OF CL.AtM tin dot|arsi

t2;i PROPERTY DAMAGE ‘.Zb t‘EF!SONAL lN.lUR`i' l2c WRONGFUL DF.ATH 12<.1 TOTAL (Ftt¥lul'€ m 599€'1¥ "\3{¢913$0

torfa.iti.iie ot your rights)
55~9°0-°°0 99 - 5500 000 GO ss.soti.ooo 00
ll 8 it §l tr

 

 

 

 

 

l CERTIFY THAT THE AMOUNT OF Cl_AtM COVERS ONLY DAMAGES AND !NJURlES CAUSEO BY THE lNC|DENY ABOVE AND AGREE TO ACCEPT SA|D AMOUNT tN
FULL SAT|SFACT|ON AND FlNAL SET`{LEMENT OF THlS CLAIM

 

 

 

 

 

 

 

 

 

133 SthtATURE OF Ct_¢itttt.t\ttt (See instructions cit reverse s de i 1 ith Phc:ie number of person signing lorni t_it, 01in OF SthtA'l URE
t /~' /r' /"r* .:r~",/ 7-4000 ' ‘u ’
.6|/' (c_,/-L.».-..`_ »1") "}'“d-[ t'i?i/ ”<i.?/i"j j,‘£vltli,*‘ii' ESQC .e#g}'l {626] 95 )v* if § i B':JGG
‘._- r
Clvtt. PtZNALTY FOR PRESENT%NG cRiMiNAL PENALTY FOR PRESENTlNG FRAUDuLENT
FRAUDULENT CLA|M Ct,nttt‘t OR MAK|NG FALSE STATEMENTS
The claimant st.att forfeit and pay to ina U-iitert States lite sum ot 52 009 Fi:ie ot riot more tnari Stt'l 050 or imprisonment tot not ri\ore than 3 years ci botii
p.us tict.ote the amount ot damages sustained by the United States See la ti 5 C 257_ inst j
t
rSce 31U 3 C 3729]
tie ios ‘_ NSN 7540-00434-4046 STANDARD FC\RM 95
EXH|B\T -. Pnsscitist;o sir ot=P”t or iusrics
' 38 CFR r-1 §

D

dl
:
ii-i
§
z
E'
l
2
E
2
ll

 

art

'v~,. _~==¢=-_-."t¢ ~_wm:¢.. aimeme

 

 

 

 

Case 2:06-cV-O4857-Fl\/|C-li Document 94 Filed 08/22/07 we 41 of 49 Page |D #:154

INSURANCE COVERAGE

 

tn order that subrogation claims may be adjudicated it ls essential that the claimant provide the following information regarding the insurance coverage el his vehicle or property

 

is no you carry accident lrisurance‘t‘:l¥es llyes, give name ann address or insurance company iNumt;ier, Slreei_ City. Slaie. and Zip Code) and poticy number .liro
To the best of Claimant`s current knowledge there is no insurance protection applicable here Mr
Twitchell has rio such insurance covering this claim

 

 

to t-lave you filed a claim on your insurance carrier in this instance and if so is lt tull coverage ur deductih|o'?
Yes

17 if deductible slate amount
Full Coverage

N° oeuuciii)le

lj[:l

 

 

15 lf a claim has been pled with your carrier, what action has your insurer taken or proposed to take with reference to your claim? {lt ls necessary that you ascertain these facts )

 

19 Do you carry public liability and properly damage insurance? iii Yes if yes, give name and address of insurance carrier tl‘ifurntiei Slreet Cily. State and Zlu Cuuel ><No

 

t
lNSTRUCTlONS

Ctaii'ns presented under the Fodoral Tort Clalrris Act should bo submitted directly to the “appropriata Fodoral agency" whose

employee(s) was lovolved in the |ncident if the incident involves marathon one claimant, each claimant should submit a separate claim
form

Complate all items - lnsart the word NONE where applicable

i°i CLA|M Sl'iALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FE.DERAL DAMAGES|NASUM CERTA!N FOR lNJURY TO OR LOSS OP PROPERT"( PERSONAL
AGENCY RECENESFROMACLNMANT Hl$ DULY AUTHOR|ZEDAGENT,OR |i.EG-AL lNJURYt OR DEATH ALLEGEC? TO HAVE OCCURRED BY REASON OF-' THE lNC|DENY

REPRESENTAT|VE AN EXECUTED STANDARD FORM 95 OFl OTHER WR|WEN THE CLA|M MUST BE PRESEHTED TO THE APPROPRU\TE FEDERAL AGENC¥ WlTHlN
NOT!F|CAT|ON OF AN lNClDENT, ACCOMPANIED BV A CLA|M FOR MONEY TWO YEARS AFTER THE CLA!M ACCRUES.

Frilluro to completely execute this rorm or to supply the requested matarlal w|thtn The amount claimed should be substantiated t)y competent evidence as fri-tons
two years lrom the date the claim accrued may render your claim invalid A claim la
deemed presented when ll ls recelved by inn appropriate agancy, not when lt is fat ln support of ina ctalmfor personallniury or dealn,tne claimant should suhmitawriiien
mallei.| report by the attending physicianl showing the nature and extent of iniury. the nature end
extent ot treatment the degree of permanent cisatil|ity, it any, the progncsls. and inc period
pt hospitalization or incapacitation attaching itemized bills lor inedical. liospitat, or burial
il lnstiucuon is needed incorporating this tenn the agency listed in item #1 on the reverse Exnenscs actually incurred
side may he contacted Complete regulations pertaining to ctalms asserted under the
Fe:ieral Tort Clulrns Act can be found in Til|e 28. Code or Federal Reigu|atlcns Part 14
Mariy agencies have published supplementing regulath lt more than one agency is (h} tn support ot daims for damage lo property, which has been or can tie economically
involved please state each agency repaired the claimant should submit at least two itemized signed statements or estimates l>y
reliable d.sinteresied ci:iiir;ernsi or il payment has been made the itemi:ed signed receipts
ev dancing payment
The claim may ne tied try a duly authorized agent or other ‘egal representative provided
evidence satisfactory to the Goverrlment le submitted with the claim establishing ex press
authority to act for the claimant A claim presented tv an agent or legal representative (c) in support ct claims for damage to property which is not economically repairatile or rt
must be presented irl ‘illerlarne ul the claimant ll the claim is signed by the agent or legal the Woperty is lost or destroyed tile claimant should submit statements as lo the original cost
representative it must show trie title or legal capacity cr the person signing and be ofthe property the dale ol purchase and too valuoc.' the proportv. both nature and alter the
accompanied by evidence rif further authority to present a claim on behalf of tha claimant accident Su'i`il"l Statem€rlt$ S|tOUld be blr disinterested CD"`-FE\EI“ PEFSGHS llf‘-‘\'L"Hvir
as agent executor administrator parent guardian mother representative reputath dealers or officials familiar with the type of property damaged o' cy two or ino.e
competitive bidders and should be certified as doing rust and correct

trctairr‘ant intends to ute !or both personal iniu.'yalirt propertyuamage the amount toroach

must he shown in item #1? of this form fdl Failurc to specify a sum certain will render your claim invalid and may result iii

forfeiture of your rights

 

PRIVACY ACT NO"flC£-Z
Tiiis Nolice is provided in accordance with the privacy Act, 5 U S C 552a(ett3l and B Prlnl:ipai'Purpose The information requested istobe used in evaluating claims
concerns the information requested in the letter lo which this Nolice is attached C Rouiine U',o See tile Notit.cs of Systems of Rei:ords for the agency to whom you
4 Arirllonry The requested information is solicited pursuant to one or more of are submitting this form for this information
the following 5 U 5 C 391 25 U S C 501 cl SGC| . 23 U S C 2671 el seq 13 Effectcf Falfi.'a to Responrf Disctosure is voluntary Hov.ever, failure to supply

'.EBC. FR Parll"i

 

the requested information or lo execute the form rnay renderyo..ir ctai.il 'inialid’

 

_ PAPERWORK REDUC`HUN ACT NCT§CE

 

This notice is so'clrl-')r the PUIDGSE Ol ina Paper.vorlr. Reouction Ai:l 44 LJ S (, 3501 Public 'eponlrg burden for this collection cl information is estimated ro average 6 hours par responsel
including me lime tar rev-ewing instructions searching existing data sources gathering and maintaining the data needed and completing and reviewing lite collection cl iiiioiioatio:i ‘>eliu
comments regarding li'l'§ burden estimate or any other aspect of lh.s collection of information including suggestions for reducing lois buideri. lU me D"»EClOf TGflS Efanch Att€nl't>h

Paper\-ort\ Redi.'ctlon Stai'r Civi| Oivision U S Department of Justlce \‘Jasnln§lon i) C 23530 or to t'ie Ollice of tonnage-ment and Budgel t)o oct mail completed iorrnisl to these
addresses

 

 

37 95 Bi"t"l<

hi.ii»-ir‘=-. c ,. c.. .. ._

 

\

 

 

 

Case 2:06-cv-O4857-F|\/|C-% Document 94 Filed 08/22/07 Pge 42 of 49 Page |D #:155 |

Kent Twitchell Studio

|G() L<)ma Avenuc #302 Long Beach, CA 90803

June (), 2[){)6

Sheldcm & Maak -
225 Sou`lh Lakc AX-’r:llue, i}m l~` loor
Pasadcna, Califomia 91 10 l

l have empowered lies Weinstcin and the Pa$adcnu l,,aw Firm ul`
Shcldcm & Mnk tn represent me with regards m my "ifid Ruscha
Monumcnl" murasl, al ¥031 South |~Ii|! 81 in l)<zw:‘lmvs=n L,o’s
Angc]c§* being purposely damaged during the month c)l` Muy and
lh\_‘n illcguily painted nut 011 june ?., 20{)().

%OWW

Kent T\\'i&ch\:l\

{.`Cll (213) 304'()76*)

 

 

§§

 

 

Case 2:06-cV-O4857-F1\/|C-R6 Document 94 Filed 08/22/07 Pwe 43 of 49 Page 1D #:156

Attacliment A

Twitchell brings this claim triiderthe Federal 'l`ort C|aniis Act, 28 U.S.C_ § 1346 and
related sections ol`Title 23 ol`the United States (`odc. I’uisriant to, inter riliri.
17 U.S.C` § 1()().»\, Twitchell possesses a statutory right ol`integi‘ity, pursuant to ulrich he
could prevent the distortioii, mutilation or other modification ol“ the Work. Pursuaiit to
Cal, Civ Code § 937. Twitchell is also given siniilar. but riot entirely co-cxtcnsive. rights
by Califomia la\v. 'l`lic Califomia law provides claims for both intentional destruction ol`
a nork ot line art and grossly negligent destruction ol` ii work o|` line art by someone
entrusted to restore or maintain thc n'or!<. Most importantly, under the lavi, Twitchell bird
thought to receive prior notice he!`ore the Work t 'as rnuu|ated. distorted, destroyed or
patrith ovcr, so that he could seek to pier eat such damage or recover the work 'l`lic
Work meets all of` the requirements t`or protection under these statutcs. i e.. it was riot a ‘
work t`oi liii‘c, title was never transferred from Twitchell, and the Work could have been
removed by§ 1`or iiistance, initial prescrvatronist Nathan Zaldierm ii ho has Sricccssi"iilly

t moved other `l`witchell iiiuials. 'l`witcliell has further rights under Califomia and federal
law to be free from conversion destruction or taking of his property Despito these ri glus
and two ivariiin_gs, on or about .lune l, 2006, holes were punched in the Woik, and on or
about June l 20()(). the Woi'i~: was painted overby the DOL audits agents and contractors
making recovery dit`liculr, if riot impossible or impracticable Twitchell received no
required statutory or other rroticc. and the Work has been completely either severely
damaged or destroyed

l`witclicl|'s investigation ol` the events is still proceeding l~lowever, iit the present tiinc,
it appears that Ms. Faye Washington, oi`the Y\VCA t`or Greater Los Arigelcs, acting on
behalf of the .lob Corps and DOL, requested that work be done on the building at 1031 S.
llill St A goveniiiieiit-seleeted engineering consultant and coritiactor, l\/chissack &
?vchissack, visited the property and identified work to be done. hts. Wasliingtori was
required to identity and select the contractor to do work on the building which she did via “
consulting the Sniall Busrness .»\diniiiistration. Slic selected Southern Califomia
Conti'actors. liie., ii inch is a protegi': to the larger West Coast (leiierat Corp. At some
poiiit, apparently at the behest of Mcl<issaclr & Mcl(issaclt. Mr. Fraley (aii employee ot4
the Los Angeles ilob Corps and the YWC!-\) called the Los Angeles Department of
Criltiiial r\ 1`1`airs to request information about altering or tlelaciiig murals. l-lc was told
that both suite and federal law required notification ol`tlic aitrst and was referred to
`v'#\l?_r\ and the Calilorriia la\\' /\ppareiitly, this recommendation was ignored by Nli

l" raley and t\/lcl<rssacl< & t\tleKissacl<, and the Ruscha Monument t 'as lirst severely
damaged on or about .lune l, 2006, by putting over 200 holes in it, and tlieii, despite a
naiiring, it was painted over on or about .liiiic 2, 200(). Coincitlentally, i'\/[rt Zakheim was
inspecting the initial to conduct some minor restoration iroi'lt connnrssioiied by the City
of los Angclcs, and he S.i\v holes being punched niro the Worl\. lie asked to speak to a
loreniai'i. and was introduced to :\'li Ble\v. who asde that l\/lr Zakheim leave the
premises alter ~\'tr, Blcw was told that the ongoing desecration and datiiag,e was unlawl`ul,
Sometnne in the iie:\t 36 liotiis‘ the moral was painted over

 

 

 

v »

Case 2:06-cv-O4857-F|\/|C-¥ Document 94 Filed 08/22/07 Pge 44 of 49 Page |D #:157

.-\ttaclinient B

'l`here is some chance that the Work could be partially restored but tunc rs ol` the essence
and there is little chance that the Work could likely recapture its orr ginal graudcui' and
quality without extensive further work.

 

 

 

 

 

 

Case 2:06-cv-O4857-F|\/|C-|3 Document 94 Filed 08/22/07 we 45 of 49 Page |D #:158

At!acltment C

tv Unknown Dcpz\t'ttttcm of l.zttmt; YWCA and 1013 Corps employee(s) who authorized
destruction of mtzt'al

\'. Bol) Bic\\" Sttpcrmtentlcnt West Coast Gcnctut (`ot‘p . 13()35 Sto\'c [)t tvc, Sttitc B,
Po\\ ay, C.»\ O'.ZO()-'l.

vi. Robert Bttstamttnte, Pt'cstdcm. Southern Califot'mtt C`otttrttct()rs. Inc,. 15282 Httnovet'
Ltmc, I“ltttttington Beztch, I.os An_t;,c]c:s, CA *}2()4'/`

vit. Faye Wztshittgton, [)trector, YWCA for Greater Los r\ttgcles, 3345 Wilshirc B!vti ,
Sttilc 3()().1.05 Attgclcs, CA 900`!0-]3\0

viit. John Fr;tley, thctlities Admtmstralt)r for the Los Angctes Job Corps., 1031 South
Ht}l Sttcet, Los Attgeics, CA

tx. Uttk:town individuals at Mct<ts§ztck 8a Mc`Kiss.ztck

 

x. Posstble joint venture pttttncts, contractors 01 sttbcontt'ttctots of McKiss:tck &,
McKissztck

 

w,-<=-r -¢1: \r_~.~:Y- .._.

 

 

 

 

 

Case 2:06-cv-O4857-F|\/|C-z Document 94 Filed 08/22/07 we 46 of 49 Page |D #:159

:\ttti€ll ment D
Pt‘opt:rty tittmugc. 55 mt|l`tou P€rsonttl tnjury' 5500.()00 Mr thlc;lwli wt1l also SCCk

attorneys fees agtttust tltc United States tuttl Dcptutmcul ol` l,ttbur under any applicable
statutc. mcluding thc liquid Acccss 10 Juslice Act lmd Califomta law

90

 

 

._u'_;:“'\--y zs=P-".*=. 2 \.t. _ .

 

 

Case 2:06-cv-O4857-Fl\/|C-l¥ Document 94 Filed 08/22/07 we 47 of 49 Page lD #:160

PROOF OF SERV|CE

CCP §§ 1013, 1013a (New January 1l 2005)

STATE OF CAl_lFORNlA, COUNTY OF LOS ANGELES

1

Executed on August 20, 2007 at Pasadena, Califomia

l am over 18 years of age and not a party to this action. l am a resident of or
employed in the county where the mailing took place.

My business address is. 100 East Corson Street, Third Floorl Pasadena, CA 91103

On Aug ust 20, 2007l l mailed from Pasadena, Califomia the following document(s)'
ST|PULAT|ON REGARDING SECOND AMENDED COMPLA|NT

ij The documents are listed on Attachment “A."

| served the documents by enclosing them in an envelope and

a. l:l depositing the sealed envelope with the United States Postal Service with
the postage fully prepaid

b. X placing the envelope for collection and mailing following our ordinary
business practices | am readily familiar with this business’s practice for
collecting and processing correspondence for mailing On the same day that
correspondence is placed for collection and mailing, it is deposited in the
ordinary course of business with the United States Postal Service in a sealed
envelope with postage fully prepaid

The envelope was addressed and mailed as follows:

a. Name of person served:
b Address of person served:

X The name and address of each person to whom l mailed the document(s) is
listed on Attachment “B."

l declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct l further declare that l am employed in the
office of a member of the bar of this Court, at whose direction the service was
made

%./Hd};‘;//‘é_/ /:»¢~%WL,

Christina Champagn'e y

 

Case 2:06-cv-O4857-Fl\/|C-l3 Document 94 Filed 08/22/07 Pge 48 of 49 Page lD #:161

Kent Twitchell v. West Coast General Corp t et al
U.S.D.C. - C.D. Califomia, Case No. CV 06-4857 FNlC (RZx)

ATTACHMENT "B” - SERV|CE LlST

Jason R. Thorriton, Esq

Justln l\/l Stoger, Esq.

MARKS, GOL|A & F|NCl-l, LLP
2900 Harney Street, First F|oor
San Diego, Califomia 92110-2825

Henry H Oh, Esq.

Yen N. Nguyen, Esq.

DLA PlPER US LLP

550 South l-lope Street, Suite 2300
Los Angeles, Califomia 90071-2631

Steven H. Schwartz, Esq.

Noel-E. l\/|acaulay, Esq

SCHWARTZ & JANZEN, LLP

12100 V\lilshire Boulevard, Suite 1125
Los Angeles, Califomia 90025~7117

George S Cardona, Esq.

Leon W. Weidman, Esq.`

Russell W.` Chittenden, Esq.
OFF|CE OF THE U S ATTORNEY
Room 7516, Federal Buildlng

300 North Los Angeles Street

Los Angelesl Califomia 90012

Glenn M. Horan, Esq

LAVV OFF|CES OF GLENN l\/l HORAN
1650 Town Center Drive, Suite 1300
Costa lVlesa, Califomia 92626

Counsel for Defendants

West Coast General Corporation,
Southern Califomia Contractors, lnc.
and Robert Blew

Counsel for Defendants

‘(oung Women's Christian Association Of
Greater Los Angeles, Califomia and
John Fraley

Counsel for Defendant
PB Dewberry, A Parsons Brinkerhotf
Dewberry Design Group Joint Venture

Counsel for Defendants
United States of America and United
States Department of Labor

Counsel for Defendant
Castlerock Environmenta|, lnc.

 

Case 2:06-cV-O4857-Fl\/lC-li Document 94 Filed 08/22/07 Pge 49 of 49 Page lD #:162

John F. Ramey, Esq. Counsel for Defendant
Bradley V. DeBlanc, Esq. Saunders & ll/lclVli|liri, lnc.
RAl\/lEY & DeBLANC, LLP

6033 West Century Boulevard, Suite 1180

Los Angeles, Califomia 90045

Nicholas A. Cipiti, Esq. Counsel for Defendant
Sage R Knauit, Esq. SuperiorWall Systems, lnc.
Wesley A Tonel, Esq.

WALSWORTH, FRANKL|N, BEV|NS &

l\/lcCALL, LLP

1 City Boulevard West, Fifth Floor

Orange, Califomia 92868»3677

